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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF SOUTH CAROLINA



                  CONFERENCE AND SCHEDULING ORDER
                     AND RULE 26(F) REPORT FORM

                                   C/A NO.: 2:22-cv-1307

                              JUDGE RICHARD MARK GERGEL

                                 NOTICE TO COUNSEL

Attached please find a proposed scheduling order for your review and comment. The 2000
Amendments to the Federal Rules of Civil Procedure, and subsequent amendments to the
local rules for this district, now require that, early in the litigation, counsel meet, confer, and
submit certain information to the court. Some of the requested information is needed to
formulate a scheduling order. The judges of this district have determined that the most
feasible way of accomplishing this is for the court to enter a tentative scheduling order with
a request that the parties meet and determine if the dates proposed by the court are
acceptable.

The deadline for meeting and conferring in this case is set out in Paragraph 1 of the
attached scheduling order. A form (RULE 26(F) REPORT) is attached and must be completed
and returned indicating your acceptance of, or suggested changes to, the scheduling order.

A scheduling order “is not a frivolous piece of paper, idly entered, which can be cavalierly
disregarded by counsel without peril.” Forstmann v. Culp, 114 F.R.D. 83, 85 (M.D.N.C.
1987) (quoting Gestetner Corp. v. Case Equipment Co., 108 F.R.D. 138, 141 (D. Me.
1985)). “The use of discovery closure dates and deadlines for disclosure of experts are
important tools for case management.” Serrano-Perey v. F.M.C. Corp., 985 F.2d 625, 628
(1st Cir. 1993).

The Local Civil Rules for the District of South Carolina, as well as the forms referenced in
this order, are available on this District’s website at:

                            www.scd.uscourts.gov




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                                  IN THE UNITED STATES DISTRICT COURT
                                       DISTRICT OF SOUTH CAROLINA
                                           CHARLESTON DIVISION

Nautilus Insurance Company,                                   )     C/A No.: 2:22-cv-1307
                                                              )
Petitioner(s),                                                )     CONFERENCE AND
                                                              )     SCHEDULING ORDER
v.                                                            )
                                                              )     Judge Richard Mark Gergel
Richard Alexander Murdaugh, Sr, et al.                        )
                                                              )
Respondent(s).                                                )


                Pursuant to the Federal Rules of Civil Procedure and the Local Civil Rules of this
        Court, the following schedule is established for this case. This order is entered to
        administer the trial of cases in a manner consistent with the ends of justice, in the shortest
        possible time, and at the least possible cost to litigants. Discovery may begin upon receipt
        of this order.

                    1. Rule 26(f) Conference: A conference of the parties pursuant to Fed. R. Civ.
                       P. 26(f) shall be held no later than July 22, 2022.1

                    2. Rule 26(a)(1) Initial Disclosures: No later than August 05, 2022 the
                       required initial disclosures under Fed. R. Civ. P. 26(a)(1) shall be made.2

                    3. Rule 26(f) Report: No later than August 05, 2022, the parties shall file a
                       Fed. R. Civ. P. 26(f) Report in the form attached to this order.3

                    4. Mediation: As part of the Rule 26(f) Report, the parties are to file the form
                       entitled “Mediation of Cases Pending Before Judge Gergel,” which is
                       attached hereto.4

                    5. Amendment of Pleadings: Motions to join other parties and amend the
                       pleadings shall be filed no later than September 29, 2022.



        1 Plaintiff’s counsel shall initiate the scheduling of the Rule 26(f) conference with all counsel known to
        plaintiff regardless of whether they have filed appearances. At conference, the parties shall confer
        concerning all matters set forth in Rule 26(f) and whether the schedule set forth in this order is appropriate
        and, if not, what modifications are necessary. See attached form – RULE 26(f) REPORT. The parties
        shall also consider whether they wish to consent to trial before a United States Magistrate Judge (form
        available on website).
        2 Pursuant to Fed. R. Civ. P. 26(a)(1), the parties may, by stipulation, agree not to make some or all of the

        Rule 26(a)(1) initial disclosures. If such a stipulation is made, it shall be confirmed in writing between the
        parties. See Fed. R. Civ. P. 29 and Local Civil Rule 29.01.
        3 Parties are hereby notified that Local Civil Rule 26.03 lists additional queries to be answered in the Rule

        26(f) Report. See also Local Civil Rule 26.02 (rules for answering court interrogatories).
        4
          The Court will issue a separate Order on mediation.
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    6. Expert Witnesses: Parties shall file and serve a document identifying by full
       name, address, and telephone number each person whom they expect to
       call as an expert at trial and certifying that a written report prepared and
       signed by the expert including all information required by Fed. R. Civ. P.
       26(a)(2)(B) has been disclosed to the parties by the following dates:
              Plaintiff: October 31, 2022
              Defendant: November 28, 2022

    7. Records Custodian Witnesses: Counsel shall file and serve affidavits of
       records custodian witnesses proposed to be presented by affidavit at trial
       no later than December 05, 2022 Objections to such affidavits must be
       made within fourteen (14) days after the service of the disclosure. (See
       Fed. R. Evid. 803(6), 902(11), or 902(12) and Local Civil Rule
       16.02(D)(3)).

    8. Discovery: Discovery shall be completed no later than December 28,
       2022. All discovery requests shall be served in time for the responses
       thereto to be served by this deadline. De bene esse depositions must be
       completed by discovery deadline. No motions relating to discovery shall
       be filed until counsel have consulted and attempted to resolve the matter
       as required by Local Civil Rule 7.02.

    9. Motions in Limine: Motions in limine must be filed no sooner than fifteen (15)
       days and no later than ten (10) days prior to the date certain set for jury
       selection and trial.

    10. Dispositive Motions and Daubert Motions: All dispositive motions and
        Daubert motions shall be filed on or before January 11, 2023.

    11. Pretrial Disclosures: No later than twenty-one (21) business days prior
        to jury selection, the parties shall file and exchange Fed. R. Civ. P.
        26(a)(3) pretrial disclosures. Within fourteen (14) days thereafter, a party
        shall file and exchange Fed. R. Civ. P. 26(a)(3) objections, any objections
        to use of a deposition designated by another party and any deposition
        counter-designations under Fed. R. Civ. P. 32(a)(4).

    12. Pretrial Briefs: Parties shall furnish the Court and serve pretrial briefs five
        (5) business days prior to the date set for jury selection (Local Civil
        Rule 26.05). Attorneys shall meet at least five (5) business days prior to
        the date set for submission of pretrial briefs for the purpose of exchanging
        and marking all exhibits. See Local Civil Rule 26.07.

    13. Trial: This case is subject to being called for jury selection and/or trial on
        or after May 01, 2023.




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      The parties’ attention is directed to the Special Instructions for Cases Before
Judge Richard Mark Gergel, attached hereto and also available on the District Court's
website at www.scd.uscourts.gov.



                                                     s/ Richard Mark Gergel
CHARLESTON, South Carolina                           United States District Judge

Attachments:

•     Rule 26(f) Report
•     Special Instructions for Cases Before Judge Richard Mark Gergel




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                             IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF SOUTH CAROLINA
                                      CHARLESTON DIVISION

Nautilus Insurance Company,                        )   C/A No.: 2:22-cv-1307
                                                   )
v.                                                 )   RULE 26(F) REPORT
                                                   )
Richard Alexander Murdaugh, Sr, et al.             )
                                                   )


             The parties, having consulted pursuant to Rule 26(f), Fed. R. Civ. P.,
hereby report as follows (check one below):

                  We agree that the schedule set forth in the Conference and Scheduling Order
                  issued is appropriate for this case. The parties' proposed discovery plan as
                  required by Fed. R. Civ. P. Rule 26(f) and the information required by Local
                  Civil Rule 26.03 will be separately filed by the parties.

                  We agree that the schedule set forth in the Conference and Scheduling Order
                  issued requires modification as set forth in the attached proposed Consent
                  Amended Scheduling Order (use same format as the Court’s standard
                  scheduling order attached hereto). The parties' proposed discovery plan as
                  required by Fed. R. Civ. P. Rule 26(f) and the information required by Local
                  Civil Rule 26.03 will be separately filed by the parties.

                  We are unable, after consultation, to agree on a schedule for this case.
                  Therefore, we request a scheduling conference with the Court. The parties'
                  proposed discovery plan as required by 26(f) Fed. R. Civ. P., with
                  disagreements noted, and the information required by Local Civil Rule 26.03
                  will be separately filed by the parties.

Plaintiff(s)                                               Defendant(s)

Signature of Plaintiff’s Counsel                           Signature of Defendant’s Counsel


Printed Name of Plaintiff’s Counsel and
Party Represented                                          Printed Name of Defendant’s Counsel and
                                                           Party Represented
Signature of Plaintiff’s Counsel
                                                           Signature of Defendant’s Counsel
Printed Name of Plaintiff’s Counsel and
Party Represented                                          Printed Name of Defendant’s Counsel and
                                                           Party Represented
Dated:
                                                           Dated:



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SPECIAL INSTRUCTIONS FOR CASES BEFORE JUDGE RICHARD MARK GERGEL

CM/ECF
The Case Management / Electronic Case Filing System (CM/ECF) is fully operational in
this District. All filings by attorneys admitted to this bar must be made via CM/ECF.
Please refer to the court’s website for further information on CM/ECF and Judge
Gergel’s filing preferences. Requests for extension of time or protection via fax, mail or
telephone are no longer accepted: All written communications with the court must be
filed electronically in the case. Extensions of time or protection requests must comply
with Local Rule 6.01. Proposed orders shall be sent as a W ORDPERFECT or MS-
WORD document directly to chambers at gergel_ecf@scd.uscourts.gov. (Times New
Roman font, 12 pt., double-spaced is preferred).

COURTESY COPIES
Send courtesy copies of motions, related memoranda, and attachments if these
documents together exceed 25 pages.

*   Courtesy copies should be printed after filing in ECF, with the ECF header printed
    on every page.
*   If the collective document (e.g., memorandum plus exhibits) exceeds 50 pages,
    submit it in bound form with cover.
*   Unless otherwise indicated, the courtesy copies should be delivered to chambers
    within three business days of filing or the request for copies.

CORRESPONDENCE BETWEEN COUNSEL
Attorneys frequently copy the court on correspondence between counsel. This is
seldom appropriate. Unless correspondence is directly related to a pending motion,
there is no reason to copy the court. If it relates to a pending motion and is relevant to
issues before the court, the correspondence should be filed as an exhibit. If it merely
relates to an anticipated motion (usually a discovery dispute), it would be more
appropriate simply to hold such correspondence and to attach it as an exhibit if a
motion becomes necessary.

EXTENSION OF DEADLINES
The deadlines in scheduling orders issued by this court are established after review of
the parties’ Fed. R. Civ. P. 26.01 interrogatory responses with careful consideration to
the nature of the case. After the parties consult and submit their Rule 26(f) report, the
parties can request that the court modify the scheduling order or request a scheduling
conference with the Court. For this reason, extensions should seldom be necessary. If,
however, it becomes necessary to seek an extension, you may file a motion addressing
the following:
Date of the current deadline;
• Whether the deadline has been extended before;
• The number of additional days requested, and proposed new deadline;
• Whether the extension would affect other deadlines; and
• If opposing counsel agrees to or opposes the extension; and
• Proposed Orders for Extensions must be emailed to the Judge’s ECF email address
   immediately after the motion is filed.

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Do not wait until the last day before the deadline to request an extension. Do not call
chambers to determine if the extension has been granted. You may, however, call the
Case Manager in the Clerk’s Office or check the docket on the CM/ECF website.
Absent extraordinary circumstances, requests should be made sufficiently in advance to
allow you to receive a response before the deadline passes. See Local Civil Rule 6.01
and 7.02.

FACSIMILE USAGE
Under certain compelling circumstances, counsel may correspond with the court by
facsimile. The following guidelines apply:
• Facsimile should not be used unless a member of chambers staff has requested or
   approved the use of facsimile;
• Facsimile should not be used unless hand delivery is impractical and the court
   needs to have the information more quickly than could be accomplished by regular
   mail;
• Facsimile is not a substitute for filing any document required to be filed;
• Do not send chambers a hard copy of documents sent by facsimile unless
   specifically requested.

MEDIATION
As part of the Rule 26(f) conference, the parties should inquire into (a) whether early
mediation would be useful; and (b) if early mediation is not thought to be useful, when is
the earliest stage in which mediation might be useful? The parties should jointly
complete the attached form, “Mediation of Cases Pending Before Judge Gergel,”
attached hereto, as part of their Rule 26(f) report. The information submitted to the
Court on this form will be used to set the deadline for mediation, which will be in a
following order.

AMENDMENT OF PLEADINGS
This is the earliest deadline for a very important reason: to allow discovery to address
all issues and all potential parties. Late requests to amend are, therefore, strongly
discouraged. This is especially true if the amendment would add a party. Any request to
amend after the scheduling order deadline should include an explanation of why the
amendment could not have been sought earlier. Parties who delay seeking to amend
until late in the litigation, especially as to known potential parties, risk denial of their
motions.

FILING OF CONFIDENTIAL MATERIAL
The parties’ attention is specifically directed to Local Civil Rule 5.03 regarding the filing
of confidential material.

WEB SITE
The District of South Carolina maintains a website with various forms and resources at:
www.scd.uscourts.gov.

ATTENDANCE
All attorneys and unrepresented parties with cases listed on the bar meeting roster are
required to attend the bar meeting or to send an attorney knowledgeable about the
case.
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PENDING MOTIONS
Counsel or unrepresented parties should be prepared to argue any pending motions at
the bar meeting that have not already been scheduled for a hearing.

REQUESTS FOR PROTECTION
Counsel must file a request for protection which is in compliance with Local Civil Rule
6.02 and includes any compelling scheduling conflicts during the time for which
protection is requested and/or that will be affected by the time protection is requested.
Proposed orders for the same must be emailed to the Judge’s ECF email address. The
court will attempt to provide protection for requests that are timely received.

TRIAL DATES
When possible, parties will be informed of the tentative date for jury trials on the day of
jury selection. Nonjury cases will be interspersed among the jury trials depending on
available trial time and the estimated length of the proceedings. Cases may not be
called in docket order. Unless a specific trial date is assigned, parties and witnesses
should be on stand-by for appearance on short notice.

MAGISTRATE JUDGES
United States magistrate judges of the district court may conduct any or all proceedings
in a civil case, including jury or non-jury trials, upon consent of all parties and with the
approval of the district judge. 28 U.S.C. § 636(c). Magistrate judges are normally able to
provide a date certain for trial. For any parties who wish to consent to a trial before a
magistrate judge, the NOTICE OF AVAILABILITY OF A U.S. MAGISTRATE JUDGE TO
EXERCISE JURISDICTION FORM is attached to this notice. To avoid scheduling
problems, this form should be submitted on or before the date set for the bar meeting.
A magistrate judge cannot be assigned until the signed form is filed with the Clerk’s
Office.

SETTLEMENTS
If any cases are settled, notify the Case Manager at the Clerk of Court’s office.
Normally, the court will enter a conditional order of dismissal (“Rubin Order”) which
allows the parties an additional sixty days to effect the agreed-to settlement. If the
conditional order of dismissal is not acceptable to the parties, counsel shall be
responsible for prompt submission of dismissal papers (within two weeks, absent
express extension).

PRETRIAL CONFERENCES
The court will conduct pretrial conferences in all cases to be tried. The dates of the
pretrial conferences will be announced at the bar meeting. Pretrial conferences in cases
to be tried by a magistrate judge will be scheduled by that magistrate judge.

PRETRIAL DISCLOSURES AND PRETRIAL BRIEFS
All attorneys and unrepresented parties are reminded of their obligations under the
Federal Rules of Civil Procedure and Local Civil Rules of this district, including their
obligations under Fed. R. Civ. P. 26(a)(3). Counsel shall ensure that all counsel and
support staff involved in the pretrial or trial process have reviewed these materials. The
deadline for filing and serving pretrial disclosures is by 5:00 p.m. exactly twenty-one
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(21) business days prior to jury selection. The deadline for submitting to Chambers and
serving pretrial briefs is by 5:00 p.m. exactly five (5) business days prior to jury
selection. Submissions with the pretrial brief include: special voir dire, special jury
instruction requests, a proposed verdict form, exhibit list, witness list, and certificate of
compliance with Local Rule 26.07 (meet, mark, and exchange exhibits).
Counsel shall review the Conference and Scheduling Order issued in their
respective cases. All deadlines set therein shall be strictly adhered to. See also
attached PRETRIAL CHECKLIST.
Please be reminded that voir dire and request to charge requests must be filed in
addition to submitting them to Chambers.

MEET, MARK & EXCHANGE EXHIBITS
The date to meet, mark, and exchange exhibits is exactly five (5) business days prior to
the date set to file and serve pretrial briefs. Proper organization of this meeting should
result in substantially fewer evidentiary disputes which must be resolved at trial.
Attached is a CERTIFICATE OF COMPLIANCE WITH LOCAL CIVIL RULE 26.07
FORM to be completed by counsel. This Certificate should be submitted with the
pretrial brief. The parties shall not renumber their exhibits after the exhibit list is
prepared and this meeting has occurred. If items are deleted, they should simply be
struck through or marked “WITHDRAWN.” The final exhibit list required by the pretrial
brief should reflect only disputes as to the exhibits which were not resolved prior to the
submission of the pretrial brief. See Local Civil Rule 26.07(c).

DEPOSITION DESIGNATIONS
Please use the attached DEPOSITION DESIGNATION FORM in preparing and
exchanging deposition designations and objections. The form may be completed by
hand, so long as it is legible. The final form shall be provided to the court 1 full day
before the start of trial. Please follow the instructions set forth below.
• Any parties intending to introduce deposition testimony at trial (other than for
    impeachment during the examination of a witness) shall designate the pages and
    lines of the testimony to be introduced using the first column of the attached
    DEPOSITION DESIGNATION FORM.
• The opposing party shall note any objections or counter designations in the second
    and third columns and return the form to the original designating party. The basis of
    any objections shall be expressly stated (e.g., hearsay, relevancy, or by Federal
    Rule of Evidence number, etc.).
• The original designating party shall then complete the fourth column, indicating any
    objection to any counter designations or any objections which are conceded.
• To the extent possible, the parties should resolve any objections during the meeting
    set to meet, mark, and exchange exhibits.
• A final DEPOSITION DESIGNATION FORM reflecting all sections to be read and
    all unresolved objections shall be provided to the court 1 full day before the start
    of the trial.
Note: This form is used by the court to follow the testimony as it is being read and to
address objections as they arise. It is, therefore, helpful for the final form to be fully in
the order that it will be read (including counter-designations). This form is also filed to
reflect what portions of the deposition were read into evidence. The court reporters
normally take down only the discussion of objections and not the portion of the
deposition that is read.
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Note: Failure to comply with the relevant deadlines may be treated by the court as
waiver of the right to offer deposition testimony or the right to object to any portions
properly designated.

JURY LISTS, QUESTIONNAIRES, AND VOIR DIRE
• JURY LIST. A copy of the jury list will be available to counsel of record through
    CM/ECF seven (7) days before the date the jury is scheduled to appear.
• JUROR QUESTIONNAIRES. Pursuant to Local Civil Rule 47.02, this district
    requires jurors to complete an extensive juror questionnaire. A sample JUROR
    QUESTIONNAIRE is attached hereto and is available on the Court’s website
    (www.scd.uscourts.gov ). The juror questionnaire is intended to: (1) provide more
    thorough information to counsel than would otherwise be available and; (2) minimize
    the time necessary to conduct voir dire. See Local Civil Rule 47.02.
    To protect the privacy of jurors, prior approval must be obtained: COMPLETE and
    FILE the JUROR QUESTIONNAIRE & LIST REQUEST FORM (example attached
    hereto and available in fillable PDF on the Court’s website) to secure the
    questionnaires. The information contained within these documents shall be used
    solely for evaluating potential jurors for jury service and is not to be used or
    distributed for any other purpose. Any person wanting to obtain this information for
    any other purpose must petition the Court for a hearing. If you have any questions
    about this procedure, please call Jeff Cargile, Jury Administrator, at (803)253-3198.
• ADDITIONAL STANDARD QUERIES. In addition to these written questionnaires,
    the court will ask potential jurors during jury selection if they know or have any
    connection with any of the attorneys, parties, or witnesses listed by either party in
    their pretrial briefs. The court will also summarize the allegations and ask if any juror
    is familiar with the dispute or has preconceived views which may impair their ability
    to be impartial.
• SPECIAL VOIR DIRE. Requests for special voir dire shall be submitted with the
    pretrial brief. If you intend to seek special voir dire, you must certify that the
    questions you seek are not duplicative of those asked in the juror questionnaires or
    the additional standard queries discussed above. See Local Civil Rule 47.04
    (prohibiting requests for voir dire repetitive of questionnaires). Your certification may
    be attached to your proposed voir dire and should be substantially in the following
    form:
I have examined the court's standard juror questionnaires and believe the attached
proposed voir dire does not duplicate these questionnaires or the court’ s standard
inquiries as set forth in Judge Gergel’s SPECIAL INSTRUCTIONS. I believe the
following questions are reasonably necessary for selection of an impartial jury.
Special voir dire requests should be written in such a manner that they call for response
only from persons whose bias might justify exclusion or provide a rational basis for a
peremptory strike (e.g., NOT “has any juror ever shopped at ABC store?”; BUT “has
any juror/family member/close friend had an experience shopping at ABC store which
might make them favor one side or the other in this case?”)

JURY INSTRUCTION REQUESTS
• The court's preliminary and boilerplate jury instructions are attached hereto. It is not
  necessary for counsel to submit proposed instructions as to the matters contained in
  the attached instructions. Nonetheless, if you in good faith believe that these
  standard instructions could be improved or need to be tailored for the trial in your
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    case, you may propose alternative instructions.
•   Proposed instructions shall be submitted with the pretrial brief and should be
    submitted in the following format: Each instruction must identify the submitting
    party and be numbered. Only one idea or concept should be expressed on each
    numbered page. The procedure of settling the jury charge during the charge
    conference is greatly simplified if all counsel and the court work from the same stack
    of numbered instruction proposals, with each proposal being contained on a
    separate sheet. Do not submit requests with blanks for insertion of numbers.
•   Each requested instruction should contain a citation of authority. In accordance with
    the Local Civil Rules of this district, if out-of-state or unreported decisions are relied
    upon for support, copies of these decisions must be attached to the jury charge
    request. Do not, however, attach copies of any cases reported in Federal Reporter,
    Federal Supplement or South Eastern Reporter.
•   Frequently, attorneys submit numerous variations of the same legal principle. While
    in some cases it may be appropriate and desirable to restate a doctrine of law using
    slightly different language to be sure the jury understands it, it is generally not
    helpful (and may be confusing) to repeat the same idea to the jury five or six times
    in different ways. Therefore, do not submit repetitive requests for the same legal
    concept. If you submit good faith jury instruction requests, tailored to the case,
    without undue repetition, the court will give conscientious consideration to your
    request.
•   Principal trial attorneys sometimes delegate the task of jury instruction preparation
    to law clerks, new associates, or other attorneys who are not actively involved in the
    case. This sometimes results in a flood of jury instruction requests, some of which
    have no direct relationship to the issues. In some cases, after the court has
    laboriously tried to determine how the requested charge fits into the case, counsel
    will concede that the request was submitted in error. Trial counsel should review all
    pretrial submissions to insure no irrelevant or unnecessary jury instructions or other
    requests (e.g., voir dire) are included.
•   Some attorneys incorrectly assume that the only way to charge a jury is to quote
    directly from reported appellate decisions. Appellate judges do not write opinions
    with jury instructions in mind. Sometimes quotes from appellate opinions need to be
    reworded to make them more understandable to a jury. Restatements, hornbooks,
    treatises and similar sources may also be used. Don't hesitate to quote and cite
    authorities such as these in your jury charge requests.
•   These instructions should not be construed as any attempt by the court to
    discourage counsel from submitting jury charge requests. Frequently, these
    submissions are helpful to the court and, in many cases, are adopted and
    incorporated into the final charge. By submitting separate legal principles on
    separately numbered pages, without undue repetition, attorneys can be of great
    assistance to the court in attempting to fashion a thorough and understandable jury
    charge.

STRIKING THE JURY
If you intend to move to strike any juror for cause based on responses to the juror
questionnaires, you must submit a list of the intended strikes to the court no later than
8 a.m. two (2) business days before the date set for jury selection. Attached is a
REQUEST TO STRIKE JURORS FOR CAUSE FORM which you may use for this
purpose. This form may be completed by hand but must contain all requested
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information. To speed the jury selection process, the court generally first selects a
panel for each case from the full venire. The court will then determine whether any
jurors on the panel are listed on any properly submitted strike-for-cause list and, if so,
whether the grounds are adequate to strike the juror for cause. The court will voir dire
the remaining panel as to any case specific matters including the standard inquiries as
to witnesses, parties and counsel, as well as any properly submitted and approved
special voir dire. If this process reduces the number below that is necessary to allow for
a full jury after peremptory strikes, additional names will be added to the panel at that
time. In order for this process to work effectively, all requests to strike jurors for
cause and all special voir dire requests must be timely submitted.


ATTACHMENTS:
Pretrial Checklist
Certificate of Compliance with Local Civil Rule 26.07 Form
Request to Strike Jurors for Cause Form
Deposition Designation Form
Jury Instructions (preliminary and boilerplate)
Consent to Trial before U.S. Magistrate Judge Form
Juror Questionnaire & List Request Form
Sample Juror Questionnaire
Mediation of Cases Pending Before Judge Gergel




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 PRETRIAL CHECKLIST
 JUDGE RICHARD MARK GERGEL
 The court is providing the checklist below to assist you in complying with the pretrial
 requirements of the federal rules, the local rules, and specific instruction required by
 this court. Please note that a number of the special requirements referenced in the
 third column are procedures specific to Judge Gergel’s court. The court intends to
 strictly enforce compliance with these requirements by refusing to accept late or
 improper submissions or, when that is not feasible, by imposing a fine.
Item                     Local Civil Rule     Special Instructions   Time Frame
Consent to Trial by      73.02(B)             Form attached          any time prior to trial
Magistrate Judge
Mediation of Cases                            Form attached          submit with Rule 26(f)
Pending                                                              report
Requests for             6.02                                        3 days before bar meeting
Production
Pretrial Disclosures –   26.00                                       21 business days prior to
FRCP 26(a)(3)                                                        jury selection
Pretrial Briefs                                                      5 business days prior to
                                                                     jury selection
Meet, Mark, and          26.07                                       5 business days prior to
Exchange Exhibits                                                    date for submission of
                                                                     Pretrial Brief
MM&E Certificate of                           Form attached          submit with pretrial brief
Compliance
Jury List                47.03                                       available 7 days before
                                                                     jury selection
Juror Questionnaires     47.02                                       available 7 days before
                                                                     jury selection
Jury Questionnaire &                          Form attached          complete and file on
List Request Form                                                    CM/ECF
Request to Strike        47.01-.04            Form attached          8 a.m. 2 days before jury
Jurors for Cause                                                     selection
Special Voir Dire        26.05(o); 47.04                             Submit with pretrial brief
                                                                     and File
Special Jury             26.05(o)             Standard attached      Submit with pretrial brief
Instructions
Exhibit List             26.05(n)                                    Submit with pretrial brief
Witness List             26.05(g)                                    Submit with pretrial brief
Proposed Verdict                                                     Submit with pretrial brief
Form
Pretrial Conference                                                  1 or 2 days before jury
                                                                     selection
Deposition               FRCP                 Form attached          1 day before start of trial
Designations;            26(a)(3)                                    (submit in final, completed
Counter-designations;                                                form)
and Objections
Exhibit and Witness                                                  5 days before start of trial
Objections




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CERTIFICATE OF COMPLIANCE WITH LOCAL CIVIL RULE 26.07

STATE OF SOUTH CAROLINA                         )    CERTIFICATE OF COMPLIANCE
                                                )    with Local Civil Rule 26.07
County of                                       )    (MEET, MARK, & EXCHANGE EXHIBITS)

TO: Judge Richard Mark Gergel

We are counsel of record in the case of
v.                                                   , C/A No.:                           .
We hereby certify that, in compliance with Local Civil Rule 26.07 D.S.C. and the court’s
directives, a meeting was held on                             , 20 , at
                                      (Description of office where meeting was held), at
which the plaintiff(s) delivered to defendant(s) pre-marked copies of exhibit numbers
              through                ; and defendant(s) delivered to plaintiff(s) pre-marked
copies of exhibit numbers                 through                 . We certify that these are
all of the exhibits we intend to use in our respective cases at trial, except as specifically
exempted from Local Civil Rule 26.07.5


                                             Name and signature of Plaintiff’s counsel



                                             Name and signature of Defendant’s counsel

                                                                                          , SC
                                                                                      , 20




5
    Documents to be used solely for impeachment are exempt from Local Civil Rule 26.07.

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                            United States District Court
                             District of South Carolina
                        The Honorable Richard Mark Gergel


                                Strikes for Cause
                       (Based on Responses from Court Questionnaires)

Case Name                                  Case Number

 Juror        Juror            Question # at                Concern           Parties     Striking
   #          Name                Issue               (if not self-evident)   Agree       Juror is
                                                                                          Opposed
                                                                                             By
                                                                               Y/N          P/D

                                                                               Y/N          P/D

                                                                               Y/N          P/D

                                                                               Y/N          P/D

                                                                               Y/N          P/D

                                                                               Y/N          P/D

                                                                               Y/N          P/D

                                                                               Y/N          P/D

                                                                               Y/N          P/D

                                                                               Y/N          P/D

                                                                               Y/N          P/D

                                                                               Y/N          P/D

                                                                               Y/N          P/D

                                                                               Y/N          P/D

                                                                               Y/N          P/D

                                                                               Y/N          P/D

                                                                               Y/N          P/D


                 Attorneys must confer and use this form to
               submit a joint list of potential strikes for cause.
            PLEASE E-MAIL THIS FORM TO: gergel_ecf@scd.uscourts.gov



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                                DEPOSITION DESIGNATION FORM

DEPONENT NAME:
DATE OF DEPOSITION:
OFFERING PARTY:



 [party]              [party]                        [party]               [party]
 DESIGNATION          OBJECTION                      COUNTER               OBJECTION
                      EXPLAIN BASIS OF               DESIGNATION           (TO COUNTER
                                                                           DESIGNATION)
                                                                           OR INDICATE
                                                                           WITHDRAWAL
                                                                           OF DESIGNATION




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             JURY INSTRUCTIONS - PRELIMINARY AND BOILERPLATE
                        JUDGE RICHARD MARK GERGEL
                    IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF SOUTH CAROLINA
                                            DIVISION


                                               )   C/A No.:
                                               )
v.                                             )
                                               )
                                               )
                                               )

                         COURT'S INSTRUCTIONS TO THE JURY
                        Duties of Jury to Find Facts & Follow Law
        Members of the jury, now that you have heard all the evidence and the
arguments of the lawyers, it is my duty to instruct you on the law which applies to this
case. These instructions will be in three parts: first, the instructions on general rules that
define and control the jury's duties; second, the instructions that state the rules of law
you must apply, i.e., what the plaintiff must prove to make the case; and third, some
rules for your deliberations. It is your duty to find the facts from all the evidence in the
case. To those facts you must apply the law as I give it to you. You are bound to accept
the rules of law as I give them to you whether you agree with them or not. And you must
not be influenced by any personal likes or dislikes, opinions, prejudices or sympathy.
That means that you must decide the case solely on the evidence before you and
according to the law. You will recall that you took an oath promising to do so at the
beginning of the case.
In following my instructions, you must follow all of them and not single out some and
ignore others; they are all equally important. And you must not read into these
instructions or into anything I may have said or done any suggestion as to what verdict
you should return -that is a matter entirely for you to decide.
                                       Burden of Proof
At the beginning of the case, I told you that the plaintiff has the burden of proving the
case by a preponderance of the evidence. That means that the plaintiff has to produce
evidence which, considered in the light of all the facts, leads you to believe that what
the plaintiff claims is more likely true than not. To put it differently, if you were to put
plaintiff's and defendant's evidence on opposite sides of the scales, the plaintiff would
have to make the scales tip slightly on that side. If the plaintiff fails to meet this burden,
the verdict must be for the defendant. Those of you who have sat on criminal cases will
have heard of proof beyond a reasonable doubt. That is a stricter standard, i.e., it
requires more proof than a preponderance of evidence. The reasonable doubt standard
does not apply to a civil case and you should therefore put it out of your mind.
                                           Evidence
The evidence from which you are to decide what the facts are consists of:
(1) the sworn testimony of witnesses, both on direct and cross-examination,
      regardless of who called the witness;
(2) the exhibits which have been received into evidence; and
(3) any facts to which all the lawyers have agreed to stipulate.
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                                    What Is Not Evidence
In reaching your verdict, you may consider only the testimony and exhibits received into
evidence. Certain things are not evidence and you may not consider them in deciding
what the facts are. I will list them for you:
1) Arguments and statements by lawyers are not evidence. The lawyers are not
    witnesses. What they have said in their opening statements, closing arguments and
    at other times is intended to help you interpret the evidence, but it is not evidence. If
    the facts as you remember them differ from the way the lawyers have stated them,
    your memory of them controls.
2) Questions and objections by lawyers are not evidence. Attorneys have a duty to
    their clients to object when they believe a question is improper under the rules of
    evidence. You should not be influenced by the objection or by the court's ruling on it.
3) Testimony that has been excluded or stricken, or that you have been instructed to
    disregard, is not evidence and must not be considered. In addition, if testimony or
    exhibits have been received only for a limited purpose, you must follow the limiting
    instructions I have given.
4) Anything you may have seen or heard when the court was not in session is not
    evidence. You are to decide the case solely on the evidence received at the trial.
                             Direct and Circumstantial Evidence
There are two kinds of evidence: direct and circumstantial. Direct evidence is direct
proof of a fact, such as testimony of an eyewitness. Circumstantial evidence is indirect
evidence, that is, proof of a chain of facts from which you could find that another fact
exists, even though it has not been proved directly. You are entitled to consider both
kinds of evidence. The law permits you to give equal weight to both, but it is for you to
decide how much weight to give to any evidence. It is for you to decide whether a fact
has been proved by circumstantial evidence. In making that decision, you must
consider all the evidence in the light of reason, common sense, and experience.
                                   Credibility of Witnesses
In deciding what the facts are, you must consider all the evidence. In doing this, you
must decide which testimony to believe and which testimony not to believe. You may
disbelieve all or any part of any witness's testimony. In making that decision, you may
take into account a number of factors including the following:
1) Was the witness able to see, or hear, or know the things about which that witness
    testified?
2) How well was the witness able to recall and describe those things?
3) What was the witness's manner while testifying?
4) Did the witness have an interest in the outcome of this case or any bias or prejudice
    concerning any party or any matter involved in the case?
5) How reasonable was the witness's testimony considered in light of all the evidence
    in the case?
6) Was the witness's testimony contradicted by what that witness has said or done at
    another time, or by the testimony of other witnesses, or by other evidence?
    In deciding whether or not to believe a witness, keep in mind that people sometimes
    forget things. You need to consider therefore whether a contradiction is an innocent
    lapse of memory or an intentional falsehood, and that may depend on whether it has
    to do with an important fact or with only a small detail.
    These are some of the factors you may consider in deciding whether to believe
    testimony.
    The weight of the evidence presented by each side does not necessarily depend on
    the number of witnesses testifying on one side or the other. You must consider all

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    the evidence in the case, and you may decide that the testimony of a smaller
    number of witnesses on one side has greater weight than that of a larger number on
    the other.
    All of these are matters for you to consider in finding the facts.
                     Summaries Not Received In Evidence [if needed]
Certain charts and summaries have been shown to you in order to help explain the
facts disclosed by the books, records, and other documents which are in evidence in
the case. Such charts or summaries are used for convenience. They are not
themselves evidence or proof of any facts. If they do not correctly reflect the facts or
figures shown by the evidence in the case, you should disregard these charts and
summaries and determine the facts from the underlying evidence.
                 Charts and Summaries Received In Evidence [if needed]
Certain charts and summaries have been received into evidence to illustrate facts
brought out in the testimony of some witnesses. Charts and summaries are only as
good as the underlying evidence that supports them. You should therefore give them
only such weight you think the underlying evidence deserves.
                               Use of Depositions [if needed]
During the trial of this case, certain testimony has been read to you by way of
deposition or shown to you by way of videotape. The deposition or videotape testimony
of a witness who, for some reason, cannot be present to testify from the witness stand
is usually presented in writing under oath in the form of a deposition or videotape. Such
testimony is entitled to the same consideration, and, insofar as possible, is to be judged
as to credibility and weighed by you in the same manner as if the witness had been
present.
                        Opinion Evidence, Expert Witness [if needed]
You have heard testimony from persons described as experts. Persons who, by
education and experience, have become expert in some field may state their opinion on
matters in that field and may also state their reasons for the opinion. Expert opinion
testimony should be judged just as any other testimony. You may accept it or reject it,
and give it as much weight as you think it deserves, considering the witness's education
and experience, the reasons given for the opinion, and all the other evidence in the
case.
                   Separate Consideration of Each Defendant [if needed]
Although there is more than one defendant in this action, it does not follow that if one is
liable, all are liable. Each defendant is entitled to a fair consideration of that defendant's
own defense, and is not to be prejudiced by the fact, if it should become a fact, that you
find against another. Unless otherwise stated, all instructions given apply to the case
against each defendant.
                    Joint Consideration of Both Defendants [if needed]
In this case, the two defendants are related corporations. Their positions in this lawsuit
are identical. This means that they are both either liable or not liable. In other words,
even though there are actually two defendants in the case, you should consider them
as one unit in your deliberations.
                                  Corporations [if needed]
The fact that a plaintiff or defendant is a corporation should not affect your decision. All
persons are equal before the law, and corporations, whether large or small, are entitled
to the same fair and conscientious consideration by you as any other person.
                            Liability of Corporations [if needed]
A corporation under the law is a person, but it can only act through its employees,
agents, directors, or officers. The law therefore holds a corporation responsible for the

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acts of its employees, agent, directors, and officers, if but only if those acts are
authorized. An act is authorized if it is a part of the ordinary course of employment of
the person doing it. Whether a particular act was authorized is a question you must
decide on the evidence.
The fact that a plaintiff or defendant is a corporation should not affect your decision. All
persons are equal before the law, and corporations, whether large or small, are entitled
to the same fair and conscientious consideration by you as any other person.
                                     Transition to Liability
The plaintiff's claim in this case is based upon                              alternative or
concurrent theories. I will first identify these theories for you and then we'll go back and
discuss each one with you in detail. The                                           theories are:
1.
2.
3.
4.
The plaintiff is not required to prove all of these theories in order for it to recover. Proof
of its claim under any one of these theories would enable you to find that it is entitled to
a verdict in its favor.
                                         General Denial
The defendant has offered several defenses. The first is what is known as the defense
of general denial. By this, the defendant simply says that it denies the material
allegations of the complaint. The defendant denies that it [made or breached any
warranties]* to the plaintiff, and contends that [even if warranties were made, the
plaintiff did not rely on these representations.] The general denial places the burden of
proof upon the plaintiff to come forward with evidence to prove these material
allegations.
* Alternative Form:
[was negligent and further denies that its negligence, if any, was the proximate cause of
the plaintiff's injuries.]
                     Affirmative Defenses - Burden of Proof [if needed]
In addition to denying all of the material allegations of plaintiff's complaint, the
defendant has asserted two affirmative defenses. These are the defenses of
contributory negligence and assumption of the risk. Just as the plaintiff has the burden
of proving his case by a preponderance of the evidence, the defendant has the burden
of proving that one or both of these affirmative defenses apply to it by a preponderance
of the evidence. In other words, the burden of proof with regard to these two affirmative
defenses rests with the defendant. Contributory negligence, if established, provides a
complete defense to the negligence claim. Assumption of the risk, if established,
provides a complete defense to both the negligence claim and the implied warranty
claim.
                                    Transition to Damages
If you should find in accordance with these instructions that the plaintiff has failed to
establish the essential elements of any of his causes of action by a preponderance of
the evidence then your verdict should be for the defendant. If, on the other hand you
find that the plaintiff has established the essential elements of one or more of his
causes of action by a preponderance of the evidence your verdict should be for the
plaintiff and you should next consider the question of damages.
                             Damages - Cautionary Instruction
The fact that I have instructed you on the proper measure of damages should not be
considered as an indication of any view of mine as to which party is entitled to your

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verdict in this case. Instructions as to the measure of damages are given only for your
guidance, in the event that you should find in favor of Plaintiff on the question of liability,
by a preponderance of evidence and in accord with the other instructions.
                                     Duty to Deliberate
When you retire to the jury room, you should first elect one from among you to serve as
your foreperson. The foreperson you select will preside over the deliberations and
speak for the jury here in court. When you retire to the jury room, you should discuss
the case with your fellow jurors to reach agreement if you can do so. Your verdict must
be unanimous. Each of you must decide the case for yourself, but you should do so
only after you have considered all the evidence, discussed it fully with the other jurors,
and listened to the views of your fellow jurors. Do not be afraid to change your opinion if
the discussion persuades you that you should. But do not come to a decision simply
because other jurors think it is right. It is important that you attempt to reach a
unanimous verdict but, of course, only if each of you can do so after having made your
own conscientious decision. Do not change an honest belief about the weight and effect
of the evidence simply to reach a verdict. Remember at all times that you are not
partisans. You are judges - judges of the facts. Your sole interest is to seek the truth
from the evidence in the case.
                                 Consideration of Evidence
Your verdict must be based solely on the evidence and on the law as I have given it to
you in these instructions. However, nothing that I have said or done is intended to
suggest what your verdict should be - that is entirely for you to decide. The arguments
and statements of the attorneys are not evidence. If you remember the facts differently
from the way the attorneys have stated them, you should base your decision on what
you remember.
                                      Return of Verdict
After you have reached unanimous agreement on a verdict, your foreperson will fill in
the form that has been given to you, sign and date it, and advise the marshal (or bailiff)
outside your door that you are ready to return to the courtroom.
                              Communicating With the Court
If it becomes necessary during your deliberations to communicate with me, you may
send a note through the marshal (or bailiff), signed by your foreperson or by one or
more members of the jury. No member of the jury should ever attempt to communicate
with me except by a signed writing; and I will communicate with any member of the jury
on anything concerning the case only in writing, or orally here in open court. Remember
that you are not to tell anyone - including me - how the jury stands, numerically or
otherwise, until after you have reached a unanimous verdict or have been discharged.




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AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge


                                           UNITED STATES DISTRICT COURT
                                                                 for the
                                                       District of South Carolina

                                                                        )
,                                                                       )
              Plaintiff                                                 )
                 v.                                                     )    Civil Action No. 2:22-cv-1307

,                                                                       )
              Defendant                                                 )

     NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

      Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment
may then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate
judge may exercise this authority only if all parties voluntarily consent.

      You may consent to have your case referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who may
otherwise be involved with your case.

     Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

        Parties’ printed names                      Signatures of parties or attorneys                       Dates




                                                             Reference Order

      IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.

Date:
                                                                                            District Judge’s signature


                                                                                              Printed name and title

Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a
       United States magistrate judge. Do not return this form to a judge.
                                                                       22
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             JUROR QUESTIONNAIRE & LIST REQUEST
Judge: ____________________________________ Jury Selection Date:___________________

Case Name and Number: _________________________________________________________

Name of Requester: _____________________________________________________________

Phone #: _________________________________

Relationship to Case:

         Attorney For:                 Plaintiff              Defendant

         Party:                        Plaintiff              Defendant

         Other ─ Explain: _____________________________________________




  The undersigned party hereby certifies that the juror questionnaires and lists and the
  information obtained therefrom are privileged and shall be kept confidential and shall not be
  shared with anyone other than the US Attorney or Federal Public Defender organization
  without written consent of the United States District Court. This information shall be used
  solely for evaluating potential jurors for service in this case and shall not be used for any
  other purpose. Further, the undersigned party certifies that immediately after trial, he or she
  will destroy all copies, whether paper or electronic, of completed juror questionnaires, juror
  lists, and any other documents containing information obtained from the complete juror
  questionnaires. Failure to adhere to the above requirements would be in violation of 28
  U.S.C. § 1867 (f) and the District of South Carolina’s Amended Jury Selection Plan Order.




                         /S/ ____________________________             _______________
                         Signature of Requester                       Date


 File this form in the case to request access to Juror Questionnaires and Lists. Once
 approved access will be granted seven days prior to the scheduled jury selection.
 Please allow one hour for access to juror questionnaires attached to the initial
 notification to be granted.

 Note: for requests docketed after 4:30 pm, access will be granted after 8:30 am the
 following business day.




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                              STANDARD JUROR QUESTIONNAIRE

                        INSTRUCTIONS
                        1. Complete and return within 3 days of receipt to:
                                  Clerk, U.S. District Court
                                  Attn: Jury Administrator
                                  901 Richland Street
                                  Columbia, S.C. 29201
                        2. Use a black pen
                        3. If you want to be excused, please use the form
                        provided or send a separate letter.




Juror’s Name: (Print)
        Address: (Street)
        (City, state & zip)
        (County)

       Email address:

       Telephone Numbers: Cell/Home (           )                      Work (          )

       Do you rent or own (purchasing)?                     Years at this address?

1.     Juror's Age:

       How would you describe the condition of your health?

       If you have any physical or medical problems which would make jury duty difficult or which
       require accommodation, please explain them here


       NOTE: If you are requesting to be excused due to a problem listed above, you must submit a
       separate letter or use form provided which can be mailed with this questionnaire.

2.     Juror's Education: (please check most appropriate)

                less than 6th grade                      technical, business or two year degree
                more than 6th grade                      some college but no degree
                but no high school degree                four year college degree in
               high school graduate                      post graduate work or degree in

3.     List any special training or skills you have:


4.     What is your current job status? (Please check most appropriate answer)

               working full time            unemployed                   homemaker

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                working part time             retired                   full time student



5.      Who is your present (or most recent) employer?

6.      What is your present (most recent) job title?

7.      Describe the duties of your current (or most recent) job:




8.      If retired, disabled, or unemployed, indicate the date of your retirement or your latest
        employment:

9.      Has your occupation changed in the last five years?

        If yes, indicate all occupations held in the last five years:



10.     List all other types of jobs you have had throughout your life (not listed above):



11.     Have you ever served in the military?                  If yes, indicate the following:

                branch of service                            years of service
                rank at discharge                            form of discharge


12.     Juror's Marital Status:
                single, never married                                          widow/widower
                single but previously married for          years               other
                currently married, have been for          years

13.     If currently married, provide the following information:

        a. Spouse's education:

        b. Spouse's present employment status:

        c. Spouse's present occupation and employer:

        d. Other types of jobs your spouse has held:

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14.     If you have children, please give their ages, gender and occupations:




        Some of the questions below refer to your “family.” This is intended to include your mother,
        father, sisters, brothers, children, and spouse.

15.     Other than the military, have you or any member of your family been employed by the United
        States government or any state or local governm_e_n_t? yes       no

        If yes, who was so employed, when and where?


16.     Have you or any member of your family ever worked for a law enforcement organization?
              yes        no

        If yes, who was so employed, when and where?


17.     What are your hobbies, special interests, recreational pastimes and other spare-time activities,
        including sports?


18.     What is/are your primary source(s) of news?
              TV                    Newspaper                Radio

               Magazines               Other

        What magazines and newspapers do you regularly read?


19.     Have you ever been a member of a professional or job-related organization (including labor
        unions)?                  yes         no

        If yes, identify the organization(s):

20.     What social, political, civic, religious, and other organizations do you belong to or are you
        associated with?




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21.     Are you or any member of your family a member of any group which encourages strict
        enforcement of criminal laws or modification of our present laws such as Mothers Against Drunk
        Drivers (MADD), Citizens Against Violence (CAVE)?
              yes         no

        If yes, identify the family member (by relationship) and the group to which they belong:



22.     Have you displayed any bumper stickers on your automobile in the last twelve months?
              yes        no

        If yes, please list each bumper sticker:


23.     Have you or any member of your family ever suffered long-term or permanent disability?
              yes        no

        If yes, please explain:


24.     Have you previously served on a jury?               yes               no

        If so, what type of case was it?                    criminal          civil

        Was a verdict reached?                              yes               no

        What was the verdict?

        Did anything happen during your previous jury service which might affect your ability to make a
        decision if you are selected as a juror during this term of court?
               yes        no

        If yes, please explain


25.     Have you ever been a witness in a civil or criminal trial?
              yes        no

        If yes, please explain




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26.     Have you or anyone in your family ever been involved in a lawsuit, including a suit involving a
        workers' compensation claim?          yes          no

        If yes, indicate the following:

        Family member involved: (relationship)
        Was that person the plaintiff (person who sues) or the defendant?
        What type of case was it? (example, auto accident)
        Who was your family member's lawyer?


27.     Have you or any member of your family ever complained to any seller or manufacturer that a
        product they sold or made was defective or unreasonably dangerous?
              yes         no

        If yes, please explain


28.     Have you or a member of your immediate family ever filed a claim with an insurance company
        (other than a health insurance cla_im)? yes    no

        If yes, what was the nature of the claim and when was it filed?


        Was the claim paid? If not, how was the matter resolved?


29.     Have you or a member of your immediate family ever filed a complaint against a law
        enforcement officer or agency?         yes        no

        If yes, what was the nature of the complaint and when was it made?


30.     Have you, or any close friends or relatives been the victim of a crime?
              yes        no

        If yes, please explain who the victim was and the type of crime:


31.     Have you or any family member ever been arrested or charged with a crime other than a traffic
        offense?                  yes          no

        If yes, please explain who was charged and with what crime:




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32.     Have YOU or any family member ever been convicted of a crime other than a traffic offense?
              yes                no

        If yes, please explain who was convicted of what crime


        If YOU were convicted of a crime, what was the nature of the crime charged?


           Was the crime punishable by imprisonment for more than one year?
                 yes        no

           If yes, were your civil rights restored and, if so, in what manner?


33.     Are any criminal charges now pending against YOU?                   yes            no
           If yes, what is the nature of the charge?
           Is the crime punishable by more than one year?

34.     Have you or anyone in your family ever worked for:

                                     YES NO             EMPLOYER & FAMILY MEMBER
        A lawyer or law firm
        An insurance company
        The court system
        A large corporation
        A doctor, hospital, or
         health care organization

35.     Have you or any member of your family ever had a drug or alcohol abuse problem?
              yes        no

        If so, did they receive treatment or participate in a support group (such as Alcoholics
        Anonymous)?
                yes         no

        If either answer above is yes, please explain




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The following instructions relate to all of the remaining questions. Please read them carefully.

        It is very important in every trial to select jurors who will listen carefully to all of the evidence
offered by both sides and who will decide the case fairly. Jurors must decide cases without any bias or
preconceived ideas as to how a particular type of case should be decided. Sometimes, however, a juror's
own personal feelings or views are so strong that the juror simply cannot weigh the evidence fairly in a
particular type of case. The following questions are intended to help the court determine if there are any
particular types of cases on which you should not serve. Please answer them carefully.

                                                                                     I can     I cannot
                                                                                     be fair   be fair
     36.     Corporations have the same rights under the law as any
             individual. Do you feel that you can be fair to both sides in a
             lawsuit that involves an individual on one side and a company or
             corporation on the other?
     37.     Foreign nationals are entitled to the same rights to a fair trial as
             any other person. Do you feel that you can be fair to both sides in
             civil or criminal cases involving a foreign national?
     38. Do you feel that you can fairly decide a case involving the U.S.
           government on one side and an individual accused of violating
           the law on the other?
     39.     Do you have such strong feelings about firearms that you could
             not be fair and impartial in a case involving the alleged use or
             illegal possession of a firearm?
     40. Do you have such strong feelings regarding the use or sale of
           illegal drugs that you could not be fair and impartial in a case
           involving the alleged use or sale of illegal drugs?
     41.     Do you have such strong feelings about alcohol or drug abuse
             that you could not fairly weigh the evidence in a case involving
             the alleged use or abuse of alcohol or drugs (legal or illegal)?
     42.     Do you have such strong feelings for or against law enforcement
             officers that you would be unable to give both sides a fair trial in
             a criminal case (or in a civil case involving a law enforcement
             officer)?
     43. Would any personal experiences prevent you from being fair to both
           sides in a case involving a person with a personal injury or
           disability?




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44.     Jurors are often required to decide which witnesses to believe and which not to believe.
        In deciding believability, jurors may consider how the witnesses presented themselves,
        certain factors in the witnesses background, and many other factors. However, you may
        not judge believability of a witness simply based on that person's occupation or position
        in life.

        Understanding these rules, would you be able to judge the believability of law
        enforcement officers and other government witnesses by the same standard as any other
        witness?

                       yes, I can                           no, I cannot

45.     Regardless of any opinion you may have concerning a particular law, would you be able
        to set aside your feelings and follow the law as stated by the judge?

               yes         no

46.     If you desire to do so, you may explain any of your answers here:




47.     Is there any additional information about you that the court should know?




Thank you again for your cooperation. Please read the following and sign below.

The answers provided above are truthful and complete to the best of my ability. I understand that
knowingly giving a false answer may subject me to the penalties for perjury.

      ***Please make sure you have answered questions 31-33/45 and sign below. ***


                         SIGN HERE ➔
                                             JUROR'S SIGNATURE

COMPLETE AND RETURN WITH IN 3 DAYS OF RECEIPT.

*** PLEASE INCLUDE LETTER OR FORM PROVIDED IF ASKING FOR EXCUSE. ***

The purpose of this questionnaire is to assist the court in selecting juries. The questionnaire is
being sent to you in advance of jury selection to save time during the jury selection process. It will
only be used for jury selection and may not be made available to the public.




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                                    MAIL OR FAX # 803-765-5283
            Jury postponement/excuse request form
Name                                    Participant No.                             Juror No.

Address                                          City/State                           Zip Code

Telephone numbers: Home                               Work                        Cell
ll I wish to have my jury service postponed because:
     D I have prepaid travel plans, and my money cannot be refunded. Provide dates and reason for travel
     below.
     D I have a medical appointment and/or condition that will prevent me from serving. Provide date(s)
     and medical condition(s) and when you may be able to serve below.
     D I am a full-time college student and classes are in session. Provide name of college, university, or
     technical school and anticipated graduation date below.
     D I have a request or excuse not listed . Please explain below.

Postponements are usually granted when there is an extended or temporary hardship. Unavailable dates do
not automatically postpone your service. You must verify your reporting status through our website at
www.scd.uscourts.gov click on ‘Jurors’ then ‘Jury Reporting Instructions’ or the automated phone system
at 1-866-865-8152. You will not receive any written notification.

REMARKS:



                                                                     Remarks continued on the back ►

ll I wish to be excused from service because:
   D I have active care and custody of children under ten years of age whose health and/or safety would
   be jeopardized due to jury service. List your children’s age(s) below.
   D I am over 70 years of age. Provide your date of birth below.
   D I am caring for an aged or infirm person, not residing in care facility. Explain below.
   D I have a physical or mental condition that would prevent me from serving as a juror. Explain fully
   below.
   D I serve without pay as a volunteer firefighter, member of a rescue squad or ambulance crew for a
   government agency. Provide name of agency below.
   D I am a self employed sole proprietor and my business will close or cease to function in my absence.
  Explain below.
   D I have a request or excuse not listed . Please explain below.

Requests are not automatically granted. You must verify your reporting status through our website at
www.scd.uscourts.gov click on ‘Jurors’ then ‘Jury Reporting Instructions’ or the automated phone
system at 1-866-865-8152. You will not receive any written notification.

REMARKS:



                                                                       Remarks continued on the back ►

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               MEDIATION OF CASES PENDING BEFORE JUDGE GERGEL
Instructions: Complete this form and file it with the joint Rule 26(f) Report.
Case Name:
C/A No.:
           1. Would early mediation be useful in this case? If the answer is in the
              affirmative, when would you propose to conduct mediation in this matter?

           2. If early mediation is not thought to be useful, when is the earliest stage in which
              you believe it might be useful?

           3. Please provide the court with any additional information that would assist in
              setting a timeline for required mediation.




Signatures                                         Party Represented




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